AO 245A (Rev. 12/03) Judgment of Acquittal



                                     UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF TENNESSEE

          UNITED STATES OF AMERICA
                                                                 JUDGMENT OF ACQUITTAL
                              V.

      ARVALON MICHELLE HARLESTON
                                                                 CASE NUMBER: 3:13-00125




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




                          Signature of Judge

          UNITED STATES DISCTICT JUDGE
                       Name and Title of Judge
           6(37(0%(5
                                   Date




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